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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
GERARDO MIGUEL BAEZ DURAN AND WILSON
FRANCISCO SANCHEZ CRUZ, individually and on
behalf of others similarly situated,
                                                             CIVIL ACTION NO.: 18 Civ. 6685 (SLC)
                               Plaintiffs,
                                                                           ORDER
         -v-

E L G PARKING INC. d/b/a E L G PARKING INC., et al,

                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

         On June 28, 2022, the Court directed the parties to file a letter (the “Letter”) by July 20,

2022, concerning the status of mediation. (ECF No. 124). To date, the parties have not filed the

Letter. Accordingly, the parties are directed to file the Letter by Monday, July 25, 2022.

Dated:          New York, New York                            SO ORDERED.
                July 21, 2022
